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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

LIV GOLF, INC.,

               Movant,                               Misc. Case No. 1:22-mc-00126-CJN-MAU

       v.

CLOUT PUBLIC AFFAIRS, LLC,

               Respondent.


            SECOND JOINT STATUS REPORT ON RESOLUTION OF DISPUTE
             AND REQUEST FOR CANCELLATION OF MARCH 7 HEARING

       At the status conference on February 6, 2023, the Court ordered the parties—Movant LIV

Golf, Inc. (“LIV”) and Respondent Clout Public Affairs, LLC (“Clout”)—to meet and confer and

to then file a joint status report providing a request-by-request breakdown of the remaining

disputes. The parties filed that report (Doc. 33), and continued to confer over the following weeks.

       The parties now report that they have resolved their dispute over Clout’s obligation to

comply with the subpoena, but ask that the Court retain jurisdiction until obligations under the

subpoena are discharged, which is expected to occur over approximately the next 30 days. The

parties respectfully request that the hearing scheduled for Tuesday, March 7, 2023 be cancelled.

The parties will jointly report to the Court in 30 days.
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Dated: March 2, 2023           /s/ Keith Forst
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 2, 2023, a true and correct copy of the foregoing were
served upon all counsel of record by filing the same with the Court’s ECF system.


                                                   /s/ Keith Forst
                                                   Keith H. Forst
